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                             UNITED STATES DISTRICT COURT
                                    DISTR IC T O F N EV AD A

LINITED STATES OF AM ERICA,                        )
                                                   )
                       Plaintiff,                  )
                                                   )
                                                   )            2:10-CR-075-PM P (PAL)
                                                   )
GRIGOR KAM PETYAN,                                 )
                                                   )
                       Defendant.                  )
                         PRELIM INARY ORDER OF FORFEITURE
        Thiscourttindsthaton Septemberz,2010,defendantGltlGoR KAM PETYAN pledguilty
toCountThreeofaFour-cotmtCriminalIndictm cntcharging him with Aggravated IdentityTheftin
violation ofTitle 18,United StatesCode,Section l028A(c);Title l8,UnitedStatesCode,Section
1029(a)(1);andTitle 18,UnitedStatesCode,Section lO28A(a)(l)and(c)(4).
        ThisCourttindsdefendantGRIGOR KARAPETYAN agreedtotheforfeitm eofpropertyset
forth in Forfeiture A llegations oftiie Crim inallndictm ent,

        n isCourtfinds,pursuantto Fed.R,Crim.P.32.2(b)(1)and (2),the United Statesof
AmericahasshowntherequisitenexusbetweenpropertysetforthintheForfeitureAllegationsofthe
Crim inallndictm entand the offense to which defendantGRIG OR K AR APETYAN pled guilty.

        ThefollowingassetsaresubjecttoforfeitureptlrsuanttoTitle18sUnitedStatesCode,Section
1029(c)(1)(C);Title18,UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStatesCode,
Sedion 2461(c);Title 18,United StatesCode,Section982(a)(2)(B):
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                       Twentp six(26)blankwhiteplasticcardswith re-encodedmetallicstrip
                       seized from D efendant               ETYAN on or about September l3,
                       2009)
               b)      Twentpfour(24)blankwhiteplasticcardswithre-encodedmetallicstrip
                       seized from Arnold Bleyan on oraboutSeptem ber 13,2009;
                       $4,320.00inUnited Statescurrency,seized from GrigorKarapetyan on
                       oraboutSeptem ber13,2009;and
               d)      $3,920.00 in United Statescurrency,seized from Arnold Bleyan on or
                       aboutSeptember13,2009(dipropertjm).
         ThisCourtGndsthe United StatesofAm erica isnow entitled to, and should,reduce the
aforementioned property to thepossession ofthe United StatesofAm erica.
         NOW THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DEcltEED thatthe
United StatesofAmerica should seizetheaforementioned property.
         IT IS FURTHER ORDERED,ADJUDGED,AND DECREED a1lright, title,and interestof
GRIGOR K ARAPETYAN in the aforementioned property isforfeited and isvested in the United
StatesofAmerica and shallbesafelyheld by theUnited StatesofAm ericauntilfurtherorderofthe
Court.
         IT ISFURTHER ORDERED,ADJUDOED,AND DECREED theUnited StatesofAmerica
shallpublish foratleastthirty(30)consecutivedaysontheofficialinternetgovernmentforfeiture
website,www.forfeiture.eov,noticeofthisOrder,which shalldescribetheforfeited property, state
the tim eundertheapplicable statute w hen a petition contesting the forfeiture m ustbe liled, and state
thenameandcontactinform ationforthegovernmentattorneytobeservedwiththepetition, pursuant

toFed.R.Crim.P.32.2(b)(6)andTitle21,United StatesCode,Section853(n)(2).
         IT ISFURTHER ORDERED,ADJUDGED,AND DECREED apetition,ifany,m ustbefiled
with thtClerk ofthe Court,333 LasVegasBoulevard South,LasVegas, N evada 89101.
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          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED acopyofthepetition,ifany,
shallbe served upon the AssetForfeittzre Attorney ofthe United States Attorney's Office atthe
following addressatthetimeoffiling:
               D AN IEL D.H OLLIN G SW ORTH
               A ssistantU nited States Attorney
               M ICH A EL A .HU M PHR EY S
               AssistantUnited StatesAttorney
               Lloyd D .George United States Courthouse
               333 LasVegas Boulevard South,Suite 5000
               LasVegas,Nevada89101.
          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED the noticedescribed herein
need notbe published in the eventa Declaration ofFodbiture isissued by the appropriate agency
following publication ofnoticeefseizureand intentto administratively forfeittheabove-described
assets.

          DATEDthks1 dayof                             ,2010.


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                                          UN ITED S A TES D ISTRICT JUD G E
